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 5
                         UNITED STATES DISTRICT COURT
 6                      CENTRAL DISTRICT OF CALIFORNIA
                              SOUTHERN DIVISION
 7
     BENJAMIN SOTO, CIMARRON                     Case No.: 8:24-cv-00433
 8   BUSER, and JOHN SEDLACEK,
 9   individually, and on behalf of all others
     similarly situated,                         CLASS ACTION COMPLAINT
10

11
                  Plaintiffs,                    DEMAND FOR JURY TRIAL
12   vs.
13
     LOANDEPOT, INC.,
14
                  Defendant.
15

16
             Plaintiffs Benjamin Soto, Cimarron Buser and John Sedlacek (“Plaintiffs”)

17
     brings this Class Action Complaint on behalf of themselves, and all others similarly

18   situated, against Defendant loanDepot, Inc. (“LDI” or “Defendant”), alleging as
19   follows, based upon information and belief and investigation of counsel, except as
20   to the allegations specifically pertaining to him, which are based on personal
21   knowledge:
22         1.     Entities that gather and retain sensitive, personally identifying
23   information (“PII” or “Private Information”) owe a duty to the individuals to whom
24   that data relates. This duty arises because it is foreseeable that the exposure of
25   consumers’ PII to unauthorized persons—especially hackers with nefarious
26   intentions—will cause harm to such individuals.
27

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     CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 1
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 1
             2.     Defendant markets mortgage, long-term care insurance, life insurance, and
 2
     other insurance and financial products, primarily to individual consumers. In the course of
 3
     its business, Defendant collects consumer data including, but not necessarily limited to,
 4
     consumers’ social security numbers, first and last names, dates of birth, full addresses, and
 5
     preferred mailing addresses, and has a resulting duty to securely maintain such information
 6
     in confidence.
 7
             3.     Defendant warrants to consumers that the services it offers on its website are
 8

 9
     safe and secure. For example, it represents:

10           We have adopted policies and procedures designed to protect your personally
             identifiable information from unauthorized use or disclosure.1
11
             4.     Defendant further assures consumers that,
12

13
             loanDepot takes steps to safeguard your personal and sensitive information
             through industry standard physical, electronic, and operational policies and
14           practices. All data that is considered highly confidential data can only be read
             or written through defined service access points, the use of which is
15           password-protected. The physical security of the data is achieved through a
             combination of network firewalls and servers with tested operating systems,
16           all housed in a secure facility. Access to the system, both physical and
             electronic, is controlled and sanctioned by a high-ranking manager.2
17

18           5.     Contrary to its assurances, Defendant did not maintain adequate systems and

19   procedures to ensure the security of the highly sensitive PII consumers entrusted to it. As
20   more specifically described below, this Complaint concerns a recent targeted ransomware
21   attack and data breach (the “Data Breach”) on LDI’s network that resulted in unauthorized
22   access to the highly sensitive data of roughly 16.6 million individuals.
23           6.     Upon information and belief, up to and through January 2024, Defendant
24   obtained the PII of Plaintiffs and Class Members and stored that PII, unencrypted, in an
25

26

27
     1
         https://www.loandepot.com/privacypolicy
     2
28       Id.
     CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 2
     Case 8:24-cv-00433-DOC-JDE Document 1 Filed 03/01/24 Page 3 of 51 Page ID #:3



 1
     Internet-accessible environment on Defendant LDI’s network, from which unauthorized
 2
     actors used an extraction tool to retrieve sensitive PII belonging to Plaintiffs and Class
 3
     Members.
 4
            7.     In the website notice, Defendant claimed that it learned of the Data Breach
 5
     on June 16, 2023, yet it waited for over a week before posting its website notices. Even
 6
     after the notices were posted, they were seen by very few consumers. On information and
 7
     belief, most consumers did not know about the data breach until receiving a letter notice
 8

 9
     from Defendant more than a month after Defendant had learned of the Data Breach.

10
            8.     The harm resulting from a breach of private data manifests in a number of

11   ways, including identity theft and financial fraud. The exposure of a person’s PII through

12   a data breach ensures that such person will be at a substantially increased and certainly

13   impending risk of identity theft crimes compared to the rest of the population, potentially
14   for the rest of their lives. Mitigating that risk—to the extent it is even possible to do so—
15   requires individuals to devote significant time and money to closely monitor their credit,
16   financial accounts, health records, and email accounts, as well as other prophylactic
17   measures.
18          9.     Defendant breached its duty to protect the sensitive PII entrusted to it, failed
19   to abide by its own Privacy Policy, and failed to provide sufficiently prompt notice after
20   learning of the Data Breach. As such, Plaintiffs bring this Class action on behalf of
21
     themselves and over 16.6 million other consumers whose PII was accessed and exposed to
22
     unauthorized third parties.
23
            10.    As a direct and proximate result of Defendant’s inadequate data security, and
24
     breach of its duty to handle PII with reasonable care, Plaintiffs’ and the Class’s PII has
25
     been accessed by hackers, posted on the dark web, and exposed to an untold number of
26
     unauthorized individuals.
27

28
     CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 3
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 1
            11.    Plaintiffs are now at a significantly increased and certainly impending risk
 2
     of fraud, identity theft, misappropriation of health insurance benefits, intrusion of her
 3
     health privacy, and similar forms of criminal mischief, risk which may last for the rest of
 4
     her life. Consequently, Plaintiffs must devote substantially more time, money, and energy
 5
     to protect themselves, to the extent possible, from these crimes.
 6
            12.    Plaintiffs, on behalf of themselves and others similarly situated, bring claims
 7
     for negligence, negligence per se, breach of fiduciary duty, breach of confidences, breach
 8

 9
     of an implied contract, unjust enrichment, and declaratory judgment, seeking actual and

10
     putative damages, with attorneys’ fees, costs, and expenses, and appropriate injunctive and

11   declaratory relief.

12          13.    To recover from Defendant for his sustained, ongoing, and future harms,

13   Plaintiffs seek damages in an amount to be determined at trial, declaratory judgment, and
14   injunctive relief requiring Defendant to: (1) disclose, expeditiously, the full nature of the
15   Data Breach and the types of PII accessed, obtained, or exposed by the hackers; (2)
16   implement improved data security practices to reasonably guard against future breaches of
17   PII possessed by Defendant; and (3) provide, at its own expense, all impacted victims with
18   lifetime identity theft protection services.
19                                             PARTIES
20          14.    Plaintiff Benjamin Soto is a resident and citizen of Sharpsburg, Maryland
21
     where he intends to remain. Mr. Soto’s PII was stored and handled by Defendant on its
22
     systems. During January and February 2024, Mr. Soto noticed a significant increase in
23
     spam calls, texts, and emails. He contacted Defendant and was notified of the breach
24
     affecting his PII. Mr. Soto contacted Defendant again on February 29, 2024, and was
25
     informed that he would soon be receiving a letter formally notifying him of the data breach
26
     affecting his PII.
27

28
     CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 4
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 1
            15.    Plaintiff Cimarron Buser is a resident and citizen of Wellesley Hills,
 2
     Massachusetts where he intends to remain. Mr. Buser’s PII was stored and handled by
 3
     Defendant on its systems. On or around February 29, 2024, Mr. Buser was notified by
 4
     Defendant via letter of the Data Breach and the impact to his PII.
 5
            16.    Plaintiff John Sedlacek is a resident and citizen of Pittstown, New Jersey
 6
     where he intends to remain. Mr. Sedlacek’s PII was stored and handled by Defendant on
 7
     its systems. On or around February 29, 2024, Mr. Sedlacek was notified by Defendant via
 8

 9
     letter of the Data Breach and the impact to his PII.

10
            17.    As a result of Defendant’s conduct, Plaintiffs suffered actual damages

11   including, without limitation, time related to monitoring their financial accounts for

12   fraudulent activity, facing an increased and imminent risk of fraud and identity theft, the

13   lost value of their personal information, and other economic and non-economic harm.
14   Plaintiffs and Class members will now be forced to expend additional time, efforts, and
15   potentially expenses to review their credit reports, monitor their financial accounts, and
16   monitor for fraud or identify theft – particularly since the compromised information may
17   include Social Security numbers.
18          18.    Defendant loanDepot, Inc. (“LDI”), is a provider of mortgages and lending
19   services with its headquarters at 6561 Irvine Center Drive, Irvine, California, 92610.
20          19.    loanDepot, Inc. is an affiliate or parent company of numerous other
21
     companies, including but not limited to: LD Holdings Group, LLC, loandepot.com, LLC,
22
     LD Settlement Services, LLC, American Coast Title Company, Inc., mello Insurance
23
     Services, LLC, Closing USA of Alabama, LLC, Closing USA LLC, Closing USA of
24
     Arkansas, LLC, Commercial Agency USA, LLC, Closing USA of Delaware, LLC, Closing
25
     USA of Utah, LLC, mello Holdings, LLC, mello Home Services, LLC, mello Home, Inc.,
26
     MTH Mortgage, LLC, MSC Mortgage, LLC, Tri Pointe Connect, LLC, Day One Mortgage,
27
     LLC, LoanDepot-FB Mortgage, LLC, (d/b/a Farm Bureau Mortgage), Heartwood
28
     CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 5
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 1
     Mortgage, LLC, BRP Home Mortgage, LLC, Henlopen Mortgage, LLC, LGI Mortgage
 2
     Solutions, LLC, NHC Mortgage, LLC.
 3
            20.      Defendant loanDepot, Inc. is a corporation formed in Delaware and
 4
     registered in good standing in California.
 5
                                     JURISDICTION AND VENUE
 6
            21.      This Court has subject matter jurisdiction over this matter pursuant to 28
 7
     U.S.C. § 1332(d). The amount in controversy in this Class action exceeds $5,000,000,
 8

 9
     exclusive of interest and costs, and there are numerous Class members who are citizens of

10
     states other than Defendant’s states of citizenship.

11          22.      This Court has personal jurisdiction over Defendant in this case because

12   Defendant is headquartered and has its principal place of business in this District.

13   Defendant conducts substantial business and has minimum contacts with the State of
14   California.
15          23.      Venue is proper in this District under 28 U.S.C. §1391(b) because Defendant
16   and/or its parents or affiliates are headquartered in this District and a substantial part of the
17   events or omissions giving rise to Plaintiff’s claims occurred in this District.
18                                   FACTUAL BACKGROUND
19   Defendant and the Services it Provides.
20          24.      Defendant LDI ranks as the fifth largest retail mortgage lender in the United
21
     States and holds the position of the second largest nonbank retail originator. Established in
22
     2010, the Defendant has facilitated lending exceeding $275 billion. Presently, LDI employs
23
     over 6,000 individuals and serves upwards of 27,000 customers on a monthly basis.
24
            25.      On information and belief, LDI maintains the PII of customers, including but
25
     not limited to:
26
                  a. name, residential address, phone number and email address
27
                  b. date of birth
28
     CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 6
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 1
                  c. demographic information
 2
                  d. Social Security number
 3
                  e. tax identification number
 4
                  f.   financial information
 5
                  g. medication information
 6
                  h. health insurance information
 7
                  i.   photo identification
 8

 9
                  j.   employment information, and

10
                  k. other information that Defendant may deem necessary to provide its services.

11          26.        Plaintiffs and Class Members directly or indirectly entrusted Defendant with

12   sensitive and confidential PII, which includes information that is static, does not change,

13   and can be used to commit myriad financial and other crimes.
14          27.        By obtaining, collecting, and storing Plaintiffs’ and Class Members’ PII,
15   Defendant assumed legal and equitable duties and knew or should have known that
16   Defendant was responsible for protecting Plaintiffs’ PII from unauthorized disclosure.
17          28.        Plaintiffs and the Class Members relied on Defendant to implement and
18   follow adequate data security policies and protocols, to keep their PII confidential and
19   securely maintained, to use such PII solely for business purposes, and to prevent the
20   unauthorized disclosures of the PII.
21
            29.        If Plaintiffs and Class Members had known that Defendant would not take
22
     reasonable and appropriate steps to protect their sensitive and valuable PII, they would not
23
     have entrusted it to Defendant.
24
     Defendant Knew the Risks of Storing Valuable PII and the Foreseeable Harm to its
25
     Consumers.
26
            30.        At all relevant times, Defendant knew it was storing sensitive PII and that,
27
     as a result, its systems would be an attractive target for cybercriminals.
28
     CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 7
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 1
               31.   Defendant also knew that a breach of its systems, and exposure of the
 2
     information stored therein, would result in the increased risk of identity theft and fraud
 3
     against the individuals whose PII was compromised.
 4
               32.   These risks are not theoretical. The financial industry has become a prime
 5
     target for threat actors.
 6
               33.   Cyberattacks have become so notorious that the FBI and U.S. Secret Service
 7
     have issued a warning to potential targets so they are aware of, and prepared for, a potential
 8

 9
     attack.

10
               34.   In tandem with the increase in data breaches, the rate of identity theft

11   complaints has also increased over the past few years. For instance, in 2017, 2.9 million

12   people reported some form of identity fraud compared to 5.7 million people in 2021.3

13             35.   The type and breadth of data compromised in the Data Breach makes the
14   information particularly valuable to thieves and leaves Defendant’s consumers especially
15   vulnerable to identity theft, tax fraud, medical fraud, credit and bank fraud, and more.
16             36.   PII is a valuable property right. 4 The value of PII as a commodity is
17   measurable.5 “Firms are now able to attain significant market valuations by employing
18   business models predicated on the successful use of personal data within the existing legal
19

20

21
     3
       Insurance Information Institute, Facts + Statistics: Identity theft and cybercrime,
22   Insurance Information Institute, https://www.iii.org/fact-statistic/facts-statistics-identity-
     theft-and-cybercrime#Identity%20Theft%20And%20Fraud%20Reports,%202015-
23   2019%20 (last visited Apr. 17, 2023).
     4
24     See Marc Van Lieshout, The Value of Personal Data, 457 IFIP ADVANCES IN
     INFORMATION       &     COMMUNICATION          TECHNOLOGY          26      (May       2015),
25   https://www.researchgate.net/publication/283668023_The_Value_of_Personal_Data
     (“The value of [personal] information is well understood by marketers who try to collect
26   as much data about personal conducts and preferences as possible …”).
     5
27     Robert Lowes, Stolen EHR [Electronic Health Record] Charts Sell for $50 Each on
     Black Market, MEDSCAPE (Apr. 28, 2014), http://www.medscape.com/viewarticle.
28   /824192.
     CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 8
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 1
     and regulatory frameworks.”6 American companies are estimated to have spent over $19
 2
     billion on acquiring personal data of consumers in 2018. 7 It is so valuable to identity
 3
     thieves that once PII has been disclosed, criminals often trade it on the “cyber black-
 4
     market,” or the “dark web,” for many years.
 5
            37.    As a result of their real value and the recent large-scale data breaches, identity
 6
     thieves and cyber criminals have openly posted credit card numbers, Social Security
 7
     numbers, PII, and other sensitive information directly on various Internet websites, making
 8

 9
     the information publicly available. This information from various breaches, including the

10
     information exposed in the Data Breach, can be aggregated, and becomes more valuable to

11   thieves and more damaging to victims.

12          38.    According to the U.S. Government Accountability Office, which conducted

13   a study regarding data breaches: “[I]n some cases, stolen data may be held for up to a year
14   or more before being used to commit identity theft. Further, once stolen data have been
15   sold or posted on the [Dark] Web, fraudulent use of that information may continue for
16   years. As a result, studies that attempt to measure the harm resulting from data breaches
17   cannot necessarily rule out all future harm.”8
18          39.    Even if stolen PII does not include financial or payment card account
19   information, that does not mean there has been no harm, or that the breach does not cause
20   a substantial risk of identity theft. Freshly stolen information can be used with success
21

22

23   6
       Exploring the Economics of Personal Data: A Survey of Methodologies for Measuring
24
     Monetary Value, OECD 4 (Apr. 2, 2013), https://www.oecd-ilibrary.org/science-and-
     technology/exploring-the-economics-of-personal-data_5k486qtxldmq-en.
     7
25     U.S. Firms to Spend Nearly $19.2 Billion on Third-Party Audience Data and Data-Use
     Solutions in 2018, Up 17.5% from 2017, INTERACTIVE ADVERTISING BUREAU (Dec. 5,
26   2018), https://www.iab.com/news/2018-state-of-data-report/.
     8
27     United States Government Accountability Office, Report to Congressional Requesters,
     Personal Information, June 2007: https://www.gao.gov/new.items/d07737.pdf (last visited
28   Apr. 17, 2023).
     CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 9
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 1
      against victims in specifically targeted efforts to commit identity theft known as social
 2
      engineering or spear phishing. In these forms of attack, the criminal uses the previously
 3
      obtained PII about the individual, such as name, address, email address, and affiliations, to
 4
      gain trust and increase the likelihood that a victim will be deceived into providing the
 5
      criminal with additional information.
 6
             40.    Consumers place a high value on the privacy of that data. Researchers shed
 7
      light on how much consumers value their data privacy—and the amount is considerable.
 8

 9
      Indeed, studies confirm that “when privacy information is made more salient and accessible,

10
      some consumers are willing to pay a premium to purchase from privacy protective

11    websites.”9

12           41.    Given these facts, any company that transacts business with a consumer and

13    then compromises the privacy of consumers’ PII has thus deprived that consumer of the
14    full monetary value of the consumer’s transaction with the company.
15           42.    Moreover, LDI itself was subject to a separate data breach in August 2022,
16    which LDI waited nearly a year (until May 2023) to disclose to its customers.
17           43.    Based on the value of its consumers’ PII to cybercriminals and the growing
18    rate of data breaches, Defendant certainly knew the foreseeable risk of failing to implement
19    adequate cybersecurity measures.
20    Defendant Breached its Duty to Protect its Consumers’ PII.
21
             44.    On or around January 8, 2024—Defendant LDI posted the following online:
22
             LoanDepot is experiencing a cyber incident. We have taken certain systems
23           offline and are working diligently to restore normal business operations as
             quickly as possible. We are working quickly to understand the extent of the
24           incident and taking steps to minimize its impact. The Company has retained
25

26

27
      9
        Janice Y. Tsai et al., The Effect of Online Privacy Information on Purchasing
      Behavior, An Experimental Study, 22(2) Information Systems Research 254
28    (June 2011), https://www.guanotronic.com/~serge/papers/weis07.pdf.
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 1          leading forensics experts to aid in our investigation and is working with law
            enforcement. We sincerely apologize for any impacts to our customers, and
 2          we are focused on resolving these matters as soon as possible.10
 3          45.    Over the next several days and weeks, Defendant continued to intermittently
 4    post updates to its website alerting customers when its various subsidiaries’ payment
 5    portals were reactivated.11 On or about January 22, 2024, Defendant posted the following
 6    statement in response to the Data Breach:
 7
            The Company has been working diligently with outside forensics and
 8          security experts to investigate the incident and restore normal operations as
            quickly as possible. The Company has made significant progress in restoring
 9          our loan origination and loan servicing systems, including our MyloanDepot
            and Servicing customer portals.
10
            Although its investigation is ongoing, the Company has determined that an
11          unauthorized third party gained access to sensitive personal information of
            approximately 16.6 million individuals in its systems. The Company will
12          notify these individuals and offer credit monitoring and identity protection
            services at no cost to them.
13
            “Unfortunately, we live in a world where these types of attacks are
14          increasingly frequent and sophisticated, and our industry has not been spared.
            We sincerely regret any impact to our customers,” said loanDepot CEO
15          Frank Martell. “The entire loanDepot team has worked tirelessly throughout
            this incident to support our customers, our partners and each other. I am
16          pleased by our progress in quickly bringing our systems back online and
            restoring normal business operations.”
17
            “Our customers are at the center of everything we do,” said Jeff Walsh,
18
            President of LDI Mortgage. “I’m really proud of our team, and we’re glad to
19
            be back to doing what we do best: enabling our customers across the country
            to achieve their financial goals and dreams of homeownership.”
20
            The Company is committed to keeping its customers, partners and employees
21          informed and will provide any additional operational updates on our
            microsite at loandepot.cyberincidentupdate.com.12
22

23

24

25
      10
26       https://loandepot.cyberincidentupdate.com
      11
27
         Id.
      12
         https://media.loandepot.com/news-releases/press-release-
28    details/2024/loanDepot-Provides-Update-on-Cyber-Incident/default.aspx
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 11
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 1
             46.    To date, LDI’s investigation has determined that the private information of
 2
      roughly 16.6 million customers and other affiliated individuals was accessed and
 3
      compromised by an unauthorized user on or about January 8, 2024.
 4
             47.    It is likely the Data Breach was targeted at Defendant due to its status as a
 5
      financial services provider that collects, creates, and maintains sensitive PII.
 6
             48.    Upon information and belief, the cyberattack was expressly designed to gain
 7
      access to private and confidential data of specific individuals, including (among other
 8

 9
      things) the PII of Plaintiffs and the Class Members.

10
             49.    While Defendant LDI stated in its public notice it would directly notify the

11    affected individuals and that it is committed to keeping the victims informed, upon

12    information and belief Defendant has failed to directly notify numerous Class Members.

13           50.    Upon information and belief, and based on the type of cyberattack, it is
14    plausible and likely that Plaintiffs’ PII was stolen in the Data Breach. Plaintiffs further
15    believe their PII was likely subsequently sold on the dark web following the Data Breach,
16    as that is the modus operandi of cybercriminals.
17           51.    Defendant had a duty to adopt appropriate measures to protect Plaintiffs’ and
18    Class Members’ PII from involuntary disclosure to third parties.
19           52.    In response to the Data Breach, Defendant LDI admits it worked with
20    external “security experts” to determine the nature and scope of the incident and claims to
21
      have taken steps to secure the systems Defendant LDI admits additional security was
22
      required, but there is no indication whether these steps will be adequate to protect Plaintiffs’
23
      and Class Members’ PII going forward.
24
             53.    Because of the Data Breach, data thieves were able to gain access to
25
      Defendant’s private systems on January 8, 2024, and were able to compromise, access, and
26
      acquire the protected PII of Plaintiffs and Class Members.
27

28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 12
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 1
             54.    LDI had obligations created by contract, industry standards, common law,
 2
      and its own promises and representations made to Plaintiffs and Class Members to keep
 3
      their PII confidential and to protect them from unauthorized access and disclosure.
 4
             55.    Plaintiffs and the Class Members reasonably relied (directly or indirectly) on
 5
      Defendants’ sophistication to keep their sensitive PII confidential; to maintain proper
 6
      system security; to use this information for business purposes only; and to make only
 7
      authorized disclosures of their PII.
 8

 9
             56.    Plaintiffs’ and Class Members’ unencrypted, unredacted PII was

10
      compromised due to Defendant’s negligent and/or careless acts and omissions, and due to

11    the utter failure to protect Class Members’ PII. Criminal hackers obtained their PII because

12    of its value in exploiting and stealing the identities of Plaintiffs and Class Members. The

13    heightened risks to Plaintiffs and Class Members will remain for their respective lifetimes.
14    FTC Guidelines Prohibit Defendant from Engaging in Unfair or Deceptive Acts or
15    Practices.
16           57.    Defendant is prohibited by the Federal Trade Commission Act, 15 U.S.C.
17    § 45 (“FTC Act”) from engaging in “unfair or deceptive acts or practices in or affecting
18    commerce.” The Federal Trade Commission (“FTC”) has concluded that a company’s
19    failure to maintain reasonable and appropriate data security for consumers’ sensitive
20    personal information is an “unfair practice” in violation of the FTC Act.
21
             58.    The FTC has promulgated numerous guides for businesses that highlight the
22
      importance of implementing reasonable data security practices. According to the FTC, the
23
      need for data security should be factored into all business decision-making.13
24

25

26
      13
27       Start with Security – A Guide for Business, United States Federal Trade Comm’n (2015),
      https://www.ftc.gov/system/files/documents/plain-language/pdf0205-
28    startwithsecurity.pdf.
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 1
             59.    The FTC provided cybersecurity guidelines for businesses, advising that
 2
      businesses should protect personal customer information, properly dispose of personal
 3
      information that is no longer needed, encrypt information stored on networks, understand
 4
      their network’s vulnerabilities, and implement policies to correct any security problems.14
 5
             60.    The FTC further recommends that companies not maintain PII longer than is
 6
      needed for authorization of a transaction; limit access to private data; require complex
 7
      passwords to be used on networks; use industry-tested methods for security; monitor for
 8

 9
      suspicious activity on the network; and verify that third-party service providers have

10
      implemented reasonable security measures.15

11           61.    The FTC has brought enforcement actions against businesses for failing to

12    adequately and reasonably protect customer data, treating the failure to employ reasonable

13    and appropriate measures to protect against unauthorized access to confidential consumer
14    data as an unfair act or practice prohibited by Section 5 of the FTC Act. Orders resulting
15    from these actions further clarify the measures businesses must take to meet their data
16    security obligations.
17           62.    Defendant failed to properly implement basic data security practices.
18    Defendant’s failure to employ reasonable and appropriate measures to protect against
19    unauthorized access to consumers’ PII constitutes an unfair act of practice prohibited by
20    Section 5 of the FTC Act.
21

22

23

24

25

      14
26       Protecting Personal Information: A Guide for Business, United States Federal Trade
      Comm’n,                  https://www.ftc.gov/system/files/documents/plain-language/pdf-
27    0136_proteting-personalinformation.pdf.
      15
28       Id.
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 14
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 1
      Cyberattacks and Data Breaches Cause Disruption and Put Consumers at an
 2
      Increased Risk of Fraud and Identity Theft.
 3
             63.    Cyberattacks and data breaches at companies like Defendant are especially
 4
      problematic because they can negatively impact the overall daily lives of individuals
 5
      affected by the attack.
 6
             64.    The United States Government Accountability Office released a report in
 7
      2007 regarding data breaches (“GAO Report”) in which it noted that victims of identity
 8

 9
      theft will face “substantial costs and time to repair the damage to their good name and

10
      credit record.”16

11           65.    That is because any victim of a data breach is exposed to serious

12    ramifications regardless of the nature of the data. Indeed, the reason criminals steal

13    personally identifiable information is to monetize it. They do this by selling the spoils of
14    their cyberattacks on the black market to identity thieves who desire to extort and harass
15    victims, and to take over victims’ identities in order to engage in illegal financial
16    transactions under the victims’ names. Because a person’s identity is akin to a puzzle, the
17    more accurate pieces of data an identity thief obtains about a person, the easier it is for the
18    thief to take on the victim’s identity, or otherwise harass or track the victim. For example,
19    armed with just a name and date of birth, a data thief can utilize a hacking technique
20    referred to as “social engineering” to obtain even more information about a victim’s
21
      identity, such as a person’s login credentials or Social Security number. Social engineering
22
      is a form of hacking whereby a data thief uses previously acquired information to
23
      manipulate individuals into disclosing additional confidential or personal information
24

25

26
      16
27      See U.S. Gov. Accounting Office, GAO-07-737, Personal Information: Data Breaches
      Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full
28    Extent Is Unknown (2007), https://www.gao.gov/new.items/d07737.pdf.
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 15
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 1
      through means such as spam phone calls and text messages or phishing emails.
 2
             66.    Theft of PII is serious. The FTC warns consumers that identity thieves use
 3
      PII to exhaust financial accounts, receive medical treatment, open new utility accounts, and
 4
      incur charges and credit in a person’s name.
 5
             67.    The FTC recommends that identity theft victims take several steps to protect
 6
      their personal and financial information after a data breach, including contacting one of the
 7
      credit bureaus to place a fraud alert (and consider an extended fraud alert that lasts for 7
 8

 9
      years if someone steals their identity), reviewing their credit reports, contacting companies

10
      to remove fraudulent charges from their accounts, placing freezes on their credit, and

11    correcting their credit reports.17

12           68.    Identity thieves use stolen personal information such as Social Security

13    numbers for a variety of crimes, including credit card fraud, phone or utilities fraud, and
14    bank/finance fraud. According to Experian, one of the largest credit reporting companies
15    in the world, “[t]he research shows that personal information is valuable to identity thieves,
16    and if they can get access to it, they will use it” to among other things: open a new credit
17    card or loan, change a billing address so the victim no longer receives bills, open new
18    utilities, obtain a mobile phone, open a bank account and write bad checks, use a debit card
19    number to withdraw funds, obtain a new driver’s license or ID, and/or use the victim’s
20    information in the event of arrest or court action.
21
             69.    Identity thieves can also use the victim’s name and Social Security number
22
      to obtain government benefits; or file a fraudulent tax return using the victim’s information.
23
      In addition, identity thieves may obtain a job using the victim’s Social Security number,
24
      and/or rent a house or receive medical services in the victim’s name.
25

26

27    17
         See IdentityTheft.gov, Federal Trade Commission, https://www.identitytheft.gov/Steps
28    (last accessed Feb. 24, 2023).
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 1
             70.    Moreover, theft of PII is also gravely serious because PII is an extremely
 2
      valuable property right.18
 3
             71.    Each year, identity theft causes tens of billions of dollars of losses to victims
 4
      in the United States. For example, with the PII stolen in the Data Breach, which includes
 5
      Social Security numbers, identity thieves can open financial accounts, commit medical
 6
      fraud, apply for credit, file fraudulent tax returns, commit crimes, create false driver’s
 7
      licenses and other forms of identification and sell them to other criminals or undocumented
 8

 9
      immigrants, steal government benefits, give breach victims’ names to police during arrests,

10
      and many other harmful forms of identity theft. These criminal activities have and will

11    result in devastating financial and personal losses to Plaintiffs and Class members.

12           72.    As discussed above, PII is such a valuable commodity to identity thieves, and

13    once the information has been compromised, criminals often trade the information on the
14    “cyber black-market” for years.
15           73.    Social security numbers are particularly sensitive pieces of personal
16    information. As the Consumer Federation of America explains:
17           Social Security number: This is the most dangerous type of personal
             information in the hands of identity thieves because it can open the gate to
18
             serious fraud, from obtaining credit in your name to impersonating you to get
19
             medical services, government benefits, your tax refund, employment—even
             using your identity in bankruptcy and other legal matters. It’s hard to change
20           your Social Security number and it’s not a good idea because it is connected
             to your lift in so many ways. 19
21

22

23
      18
24       See, e.g., John T. Soma, et al., Corporate Privacy Trend: The “Value” of Personally
      Identifiable Information (“PII”) Equals the “Value” of Financial Assets, 15 Rich. J.L. &
25    Tech. 11, at *3-4 (2009) (“PII, which companies obtain at little cost, has quantifiable value
      that is rapidly reaching a level comparable to the value of traditional financial assets.”
26    (citations omitted)).
      19
27       See, e.g., Christine DiGangi, 5 Ways an Identity Thief Can Use Your Social Security
      Number (Nov. 2, 2017), https://blog.credit.com/2017/11/5-things-an-identity-thief-can-do-
28    with-your-social-security-number-108597/ (emphasis added).
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 1
             74.    For instance, with a stolen Social Security number, which is only one subset
 2
      of the PII compromised in the Data Breach, someone can open financial accounts, get
 3
      medical care, file fraudulent tax returns, commit crimes, and steal benefits.20
 4
             75.    The Social Security Administration has warned that identity thieves can use
 5
      an individual’s Social Security number to apply for additional credit lines. 21 Such fraud
 6
      may go undetected until debt collection calls commence months, or even years, later.
 7
      Stolen Social Security numbers also make it possible for thieves to file fraudulent tax
 8

 9
      returns, file for unemployment benefits, or apply for a job using a false identity.22 Each of

10
      these fraudulent activities is difficult to detect. An individual may not know that his or her

11    Social Security number was used to file for unemployment benefits until law enforcement

12    notifies the individual’s employer of the suspected fraud. Fraudulent tax returns are

13    typically discovered only when an individual’s authentic tax return is rejected because one
14    was already filed on their behalf.
15           76.    An individual cannot obtain a new Social Security number without
16    significant paperwork and evidence of actual misuse. Even then, a new Social Security
17    number may not be effective, as “[t]he credit bureaus and banks are able to link the new
18    number very quickly to the old number, so all of that old bad information is quickly
19    inherited into the new Social Security number.”23
20           77.    This was a financially motivated Data Breach, as the only reason the
21
      cybercriminals go through the trouble of running a targeted cyberattack against companies
22

23

24
      20
         Id.
25    21
         Id.
      22
26       Id. at 4.
      23
27       Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back,
      NPR (Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-
28    hackers-has-millions-worrying-about-identity-theft.
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 1
      like LoanDepot is to get information that they can monetize by selling on the black market
 2
      for use in the kinds of criminal activity described herein. This data demands a much higher
 3
      price on the black market. Martin Walter, senior director at cybersecurity firm RedSeal,
 4
      explained, “[c]ompared to credit card information, personally identifiable information and
 5
      Social Security Numbers are worth more than 10x on the black market.”
 6
             78.    Indeed, a Social Security number, date of birth, and full name can sell for
 7
      $60 to $80 on the digital black market.24 “[I]f there is reason to believe that your personal
 8

 9
      information has been stolen, you should assume that it can end up for sale on the dark

10
      web.”25

11           79.    These risks are both certainly impending and substantial. As the FTC has

12    reported, if hackers get access to PII, they will use it.26

13           80.    There may also be a time lag between when sensitive personal information
14    is stolen, when it is used, and when a person discovers it has been used. Fraud and identity
15    theft resulting from the Data Breach may go undetected until debt collection calls
16    commence months, or even years, later. As with income tax returns, an individual may not
17    know that his or her Social Security Number was used to file for unemployment benefits
18    until law enforcement notifies the individual’s employer of the suspected fraud.
19

20

21

22

23

24    24
         Michael Kan, Here’s How Much Your Identity Goes for on the Dark Web, (Nov. 15,
25
      2017),     https://www.pcmag.com/news/heres-how-much-your-identity-goes-for-on-the-
      dark-web.
      25
26       Dark Web Monitoring: What You Should Know, Consumer Federation of America (Mar.
      19,    2019),     https://consumerfed.org/consumer_info/dark-web-monitoring-what-you-
27    should-know/.
      26
28       Id.
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 19
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 1
             81.    For example, on average it takes approximately three months for consumers
 2
      to discover their identity has been stolen and used, and it takes some individuals up to three
 3
      years to learn that information.27
 4
             82.    Cybercriminals can post stolen PII on the cyber black-market for years
 5
      following a data breach, thereby making such information publicly available.
 6
             83.    Approximately 21% of victims do not realize their identity has been
 7
      compromised until more than two years after it has happened. 28 This gives thieves ample
 8

 9
      time to seek multiple treatments under the victim’s name.

10
             84.    Identity theft victims must spend countless hours and large amounts of

11    money repairing the impact to their credit as well as protecting themselves in the future. 29

12           85.    It is within this context that Plaintiffs must now live with the knowledge that

13    their PII is forever in cyberspace and was taken by people willing to use the information
14    for any number of improper purposes and scams, including making the information
15    available for sale on the black market.
16           86.    Victims of the Data Breach, like Plaintiffs, must spend many hours and large
17    amounts of money protecting themselves from the current and future negative impacts to
18    their privacy and credit because of the Data Breach.30
19           87.    As a direct and proximate result of the Data Breach, Plaintiffs have had their
20    PII exposed, have suffered harm and have been placed at an imminent, immediate, and
21

22

23
      27
         John W. Coffey, Difficulties in Determining Data Breach Impacts, 17 JOURNAL OF
24    SYSTEMICS,           CYBERNETICS          AND      INFORMATICS           9       (2019),
      http://www.iiisci.org/journal/pdv/sci/pdfs/IP069LL19.pdf.
25    28
         See Medical ID Theft Checklist, https://www.identityforce.com/blog/medical-id-theft-
26    checklist-2 (last visited Apr. 17, 2023).
      29
         Guide for Assisting Identity Theft Victims, FED. TRADE COMM’N, 4 (Sept. 2013),
27    http://www.consumer.ftc.gov/articles/pdf-0119-guide-assisting-id-theft-victims.pdf.
      30
28       Id.
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 20
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 1
      continuing increased risk of harm from fraud and identity theft. Plaintiffs must now take
 2
      the time and effort (and spend the money) to mitigate the actual and potential impact of the
 3
      Data Breach on their everyday lives, including purchasing identity theft and credit
 4
      monitoring services every year for the rest of their lives, placing “freezes” and “alerts” with
 5
      credit reporting agencies, contacting their financial institutions and healthcare providers,
 6
      closing or modifying financial accounts, and closely reviewing and monitoring bank
 7
      accounts, credit reports, and health insurance account information for unauthorized activity
 8

 9
      for years to come.

10
             88.    Moreover, Plaintiffs and Class members have an interest in ensuring that

11    their PII, which remains in the possession of Defendant, is protected from further public

12    disclosure by the implementation of better employee training and industry standard and

13    statutorily compliant security measures and safeguards. Defendant has shown itself to be
14    wholly incapable of protecting Plaintiffs’ PII.
15           89.    Plaintiffs and Class members also have an interest in ensuring that their
16    personal information that was provided to Defendant is removed from Defendant’s
17    unencrypted files.
18           90.    Because of the value of its collected and stored data, Defendant knew or
19    should have known about these dangers and strengthened its data security accordingly.
20    Defendant was put on notice of the substantial and foreseeable risk of harm from a data
21
      breach, yet it failed to properly prepare for that risk.
22
      Plaintiffs Suffered Damages.
23
             91.    Defendant received Plaintiffs and Class members’ PII in connection with
24
      providing certain financial services to them. In requesting and maintaining Plaintiffs’ PII
25
      for business purposes, Defendant expressly and impliedly promised, and undertook a duty,
26
      to act reasonably in its handling of Plaintiffs and Class members’ PII. Defendant did not,
27
      however, take proper care of Plaintiffs and Class members’ PII, leading to its exposure to
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 21
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 1
      and exfiltration by cybercriminals as a direct result of Defendant’s inadequate security
 2
      measures.
 3
             92.    For the reasons mentioned above, Defendant’s conduct, which allowed the
 4
      Data Breach to occur, caused Plaintiffs and Class members significant injuries and harm
 5
      in several ways. Plaintiffs and Class members must immediately devote time, energy, and
 6
      money to: (1) closely monitor their medical statements, bills, records, and credit and
 7
      financial accounts; (2) change login and password information on any sensitive account
 8

 9
      even more frequently than they already do; (3) more carefully screen and scrutinize phone

10
      calls, emails, and other communications to ensure that they are not being targeted in a

11    social engineering or spear phishing attack; and (4) search for suitable identity theft

12    protection and credit monitoring services, and pay to procure them. Plaintiffs and Class

13    members have taken or will be forced to take these measures in order to mitigate their
14    potential damages as a result of the Data Breach.
15           93.    Once PII is exposed, there is little that can be done to ensure that the exposed
16    information has been fully recovered or obtained against future misuse. For this reason,
17    Plaintiffs and Class members will need to maintain these heightened measures for years,
18    and possibly their entire lives as a result of Defendant’s conduct.
19           94.    Further, the value of Plaintiffs and Class members’ PII has been diminished
20    by its exposure in the Data Breach. Plaintiffs and Class members did not receive the full
21
      benefit of their bargain when paying for financial services, and instead received services
22
      that were of a diminished value to those described in their agreements with Defendant for
23
      the benefit and protection of Plaintiffs and their respective PII. Plaintiffs and Class
24
      members were damaged in an amount at least equal to the difference in the value between
25
      the services they thought they paid for (which would have included adequate data security
26
      protection) and the services they actually received.
27

28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 22
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 1
             95.    Plaintiffs and Class members would not have obtained services from
 2
      Defendant or paid the amount they did to receive such services, had they known that
 3
      Defendant would negligently fail to protect their PII. Indeed, Plaintiffs and Class members
 4
      paid for services with the expectation that Defendant would keep their PII secure and
 5
      inaccessible from unauthorized parties. Plaintiffs and class members would not have
 6
      obtained services from Defendant had they known that Defendant failed to properly train
 7
      its employees, lacked safety controls over its computer network, and did not have proper
 8

 9
      data security practices to safeguard their PII from criminal theft and misuse.

10
             96.    As a result of Defendant’s failures, Plaintiffs and Class members are also at

11    substantial and certainly impending increased risk of suffering identity theft and fraud or

12    other misuse of their PII.

13           97.    Further, because Defendant delayed posting a notice of the Data Breach on
14    its website for over a week, and delayed sending mail notice of the same to Plaintiffs and
15    Class members for nearly a month, in Plaintiffs and Class members were unable to take
16    affirmative steps during that time period to attempt to mitigate any harm or take
17    prophylactic steps to protect against injury.
18           98.    From a recent study, 28% of consumers affected by a data breach become
19    victims of identity fraud—this is a significant increase from a 2012 study that found only
20    9.5% of those affected by a breach would be subject to identity fraud. Without a data breach,
21
      the likelihood of identify fraud is only about 3%.31
22
             99.    Plaintiffs are also at a continued risk because their information remains in
23
      Defendant’s computer systems, which have already been shown to be susceptible to
24

25

26

27
      31
         Stu Sjouwerman, 28 Percent of Data Breaches Lead to Fraud, KNOWBE4,
      https://blog.knowbe4.com/bid/252486/28-percent-of-data-breaches-lead-to-fraud (last
28    visited Feb. 29, 2024).
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 23
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 1
      compromise and attack and is subject to further attack so long as Defendant fails to
 2
      undertake the necessary and appropriate security and training measures to protect its
 3
      consumers’ PII.
 4
             100.   In addition, Plaintiffs and Class members have suffered emotional distress as
 5
      a result of the Data Breach, the increased risk of identity theft and financial fraud, and the
 6
      unauthorized exposure of their private information to strangers.
 7
                                      CLASS ALLEGATIONS
 8

 9
             101.   Plaintiffs bring all counts, as set forth below, individually and as a Class

10
      action, pursuant to the provisions of the Fed. R. Civ. P. 23, on behalf of Classes defined as:

11           The Nationwide Class:

12           All persons in the United States who had their Private Information submitted

13           to Defendant or Defendant’s affiliates and/or whose Private Information was
14           compromised as a result of the data breach(es) by Defendant, including all
15           who received a Notice of the Data Breach (the “National Class”).
16           The New Jersey Sub-Class:
17           All persons who reside within the State of New Jersey and had their Private
18           Information submitted to Defendant or Defendant’s affiliates and/or whose
19           Private Information was compromised as a result of the data breach(es) by
20           Defendant, including all who received a Notice of the Data Breach (the “New
21
             Jersey Sub-Class”).
22
      The National Class and New Jersey Sub-Class are referred to collectively as the “Class.”
23
             102.   Excluded from the Class are Defendant, its subsidiaries and affiliates,
24
      officers and directors, any entity in which Defendant has a controlling interest, the legal
25
      representative, heirs, successors, or assigns of any such excluded party, the judicial
26
      officer(s) to whom this action is assigned, and the members of their immediate families.
27

28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 24
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 1
             103.    This proposed Class definition is based on the information available to
 2
      Plaintiffs at this time. Plaintiffs may modify the Class definition in an amended pleading
 3
      or when they move for Class certification, as necessary to account for any newly learned
 4
      or changed facts as the situation develops and discovery gets underway.
 5
             104.    Numerosity – Fed. R. Civ. P. 23(a)(1): Plaintiffs are informed and believe,
 6
      and thereon allege, that there are at minimum, hundreds of thousands of members of the
 7
      Class described above. The exact size of the Class and the identities of the individual
 8

 9
      members are identifiable through Defendant’s records, including but not limited to the files

10
      implicated in the Data Breach, but based on public information, the Class includes more

11    than 16 million individuals.

12           105.    Commonality – Fed. R. Civ. P. 23(a)(2): This action involves questions of

13    law and fact common to the Class. Such common questions include, but are not limited to:
14              a.      Whether Defendant failed to timely notify Plaintiffs of the Data Breach;
15              b.      Whether Defendant had a duty to protect the PII of Plaintiffs and Class
                        members;
16
                c.      Whether Defendant was negligent in collecting and storing Plaintiffs and
17                      Class members’ PII, and breached its duties thereby;
18
                d.      Whether Defendant breached its fiduciary duty to Plaintiffs and the Class;
19
                e.      Whether Defendant breached its duty of confidence to Plaintiffs and the
20                      Class;

21              f.      Whether Defendant violated its own Privacy Practices;

22              g.      Whether Defendant entered a contract implied in fact with Plaintiffs and
                        the Class;
23
                h.      Whether Defendant breached that contract by failing to adequately
24                      safeguard Plaintiffs and Class members’ PII;
25              i.      Whether Defendant was unjustly enriched;
26              j.      Whether Plaintiffs and Class members are entitled to damages as a result
                        of Defendant’s wrongful conduct; and
27
                k.      Whether Plaintiffs and Class members are entitled to restitution as a result
28                      of Defendant’s wrongful conduct.
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 25
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 1

 2           106.   Typicality – Fed. R. Civ. P. 23(a)(3): Plaintiffs’ claims are typical of the
 3    claims of the members of the Class. The claims of the Plaintiffs and members of the Class
 4    are based on the same legal theories and arise from the same unlawful and willful conduct.
 5    Plaintiffs and members of the Class all had information stored in Defendant’s system, each
 6    having their PII exposed and/or accessed by an unauthorized third party.
 7           107.   Adequacy of Representation – Fed. R. Civ. P. 23(a)(3): Plaintiffs are
 8    adequate representatives of the Class because their interests do not conflict with the
 9
      interests of the other Class members Plaintiffs seeks to represent; Plaintiffs have retained
10
      counsel competent and experienced in complex Class action litigation; Plaintiffs intend to
11
      prosecute this action vigorously; and Plaintiffs’ counsel have adequate financial means to
12
      vigorously pursue this action and ensure the interests of the Class will not be harmed.
13
      Furthermore, the interests of the Class members will be fairly and adequately protected and
14
      represented by Plaintiffs and Plaintiffs’ counsel.
15
             108.   Injunctive Relief, Fed. R. Civ. P. 23(b)(2): Defendant has acted and/or
16
      refused to act on grounds that apply generally to the Class therefore making injunctive
17
      and/or declarative relief appropriate with respect to the Class under 23(b)(2).
18
             109.   Superiority, Fed. R. Civ. P. 23(b)(3): A Class action is superior to other
19
      available methods for the fair and efficient adjudication of the controversy. Class treatment
20

21
      of common questions of law and fact is superior to multiple individual actions or piecemeal

22
      litigation. Absent a Class action, most Class members would likely find that the cost of

23    litigating their individual claims is prohibitively high and would therefore have no effective

24    remedy. The prosecution of separate actions by individual Class members would create a

25    risk of inconsistent or varying adjudications with respect to individual Class members,
26    which would establish incompatible standards of conduct for Defendant. In contrast, the
27    conduct of this action as a Class action presents far fewer management difficulties,
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 26
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 1
      conserves judicial resources and the parties’ resources, and protects the rights of each Class
 2
      member.
 3
             110.     Defendant has acted on grounds that apply generally to the Class as a whole,
 4
      so that Class certification, injunctive relief, and corresponding declaratory relief are
 5
      appropriate on a Class-wide basis.
 6
             111.     Likewise, particular issues are appropriate for certification because such
 7
      claims present only particular, common issues, the resolution of which would advance the
 8

 9
      disposition of this matter and the parties’ interests therein. Such particular issues include,

10
      but are not limited to:

11               a.      Whether Defendant failed to timely and adequately notify the public of
                         the Data Breach;
12
                 b.      Whether Defendant owed a legal duty to Plaintiffs and the Class to
13                       exercise due care in collecting, storing, and safeguarding their PII;
14               c.      Whether Defendant’s security measures to protect its data systems were
                         reasonable in light of best practices recommended by data security
15                       experts;
16               d.      Whether Defendant’s failure to institute adequate protective security
                         measures amounted to negligence;
17
                 e.      Whether Defendant failed to take commercially reasonable steps to
18
                         safeguard consumer PII; and
19
                 f.      Whether adherence to FTC data security recommendations, and measures
20                       recommended by data security experts would have reasonably prevented
                         the Data Breach.
21

22
             112.     Finally, all members of the proposed Class are readily ascertainable.

23    Defendant has access to Class members’ names and addresses affected by the Data Breach.

24    Defendant has already preliminarily identified Class members for the purpose of sending

25    notice of the Data Breach.
26                                   FIRST CAUSE OF ACTION
27                                          NEGLIGENCE
28                                 (Plaintiffs on behalf of the Class)
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 27
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 1
             113.    Plaintiffs restate and reallege the preceding allegations above as if fully
 2
      alleged herein.
 3
             114.    Plaintiffs bring this claim individually and on behalf of the Class.
 4
             115.    Defendant owed a duty to Plaintiffs and Class members to exercise
 5
      reasonable care in safeguarding and protecting their PII in its possession, custody, and
 6
      control.
 7
             116.    Defendant’s duty to use reasonable care arose from several sources,
 8

 9
      including but not limited to those described below.

10
             117.    Defendant had a common law duty to prevent foreseeable harm to others.

11    This duty existed because Plaintiffs and Class members were the foreseeable and probable

12    victims of any inadequate security practices on the part of the Defendant. By collecting and

13    storing valuable PII that is routinely targeted by criminals for unauthorized access,
14    Defendant was obligated to act with reasonable care to protect against these foreseeable
15    threats.
16           118.    Defendant’s duty also arose from the fact that it holds itself out as a trusted
17    provider of financial services, and thereby assumes a duty to reasonably protect consumers’
18    information.
19           119.    Defendant breached the duties owed to Plaintiffs and Class members and thus
20    was negligent. As a result of a successful attack directed towards Defendant that
21
      compromised Plaintiffs and Class members’ PII, Defendant breached its duties through
22
      some combination of the following errors and omissions that allowed the data compromise
23
      to occur:
24
                     a.     mismanaging its system and failing to identify reasonably foreseeable
25
                            internal and external risks to the security, confidentiality, and integrity
26
                            of customer information that resulted in the unauthorized access and
27
                            compromise of PII;
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 28
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 1
                     b.      mishandling its data security by failing to assess the sufficiency of its
 2
                             safeguards in place to control these risks;
 3
                     c.      failing to design and implement information safeguards to control
 4
                             these risks;
 5
                     d.      failing to adequately test and monitor the effectiveness of the
 6
                             safeguards’ key controls, systems, and procedures;
 7
                     e.      failing to evaluate and adjust its information security program in light
 8

 9
                             of the circumstances alleged herein;

10
                     f.      failing to detect the breach at the time it began or within a reasonable

11                           time thereafter;

12                   g.      failing to follow its own privacy policies and practices published to

13                           its consumers; and
14                   h.      failing to adequately train and supervise employees and third-party
15                           vendors with access or credentials to systems and databases
16                           containing sensitive PII.
17          120.     But for Defendant’s wrongful and negligent breach of its duties owed to
18    Plaintiffs and Class members, their PII would not have been compromised.
19          121.     As a direct and proximate result of Defendant’s negligence, Plaintiffs and
20    Class members have suffered injuries, including, but not limited to:
21
                a.        Theft of their PII;
22
                b.        Costs associated with the detection and prevention of identity theft and
23
                          unauthorized use of their PII;
24
                c.        Costs associated with purchasing credit monitoring and identity theft
25
                          protection services;
26
                d.        Lowered credit scores resulting from credit inquiries following fraudulent
27
                          activities;
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 29
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 1
                e.      Costs associated with time spent and the loss of productivity from taking
 2
                        time to address and attempt to ameliorate, mitigate, and deal with the
 3
                        actual and future consequences of the Data Breach – including finding
 4
                        fraudulent charges, cancelling and reissuing cards, enrolling in credit
 5
                        monitoring and identity theft protection services, freezing and unfreezing
 6
                        accounts, and imposing withdrawal and purchase limits on compromised
 7
                        accounts;
 8

 9
                f.      The imminent and certainly impending injury flowing from the increased

10
                        risk of potential fraud and identity theft posed by their PII being placed

11                      in the hands of criminals;

12              g.      Damages to and diminution in value of their PII entrusted, directly or

13                      indirectly, to Defendant with the mutual understanding that Defendant
14                      would safeguard Plaintiffs’ and Class members’ data against theft and not
15                      allow access and misuse of their data by others;
16              h.      Continued risk of exposure to hackers and thieves of their PII, which
17                      remains in Defendant’s possession and is subject to further breaches so
18                      long as Defendant fails to undertake appropriate and adequate measures
19                      to protect Plaintiffs’ and Class members’ data; and
20              i.      Emotional distress from the unauthorized disclosure of PII to strangers
21
                        who likely have nefarious intentions and now have prime opportunities
22
                        to commit identity theft, fraud, and other types of attacks on Plaintiffs and
23
                        Class members.
24
            122.     As a direct and proximate result of Defendant’s negligence, Plaintiffs and
25
      Class members are entitled to damages, including compensatory, punitive, and/or nominal
26
      damages, in an amount to be proven at trial.
27

28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 30
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 1
                                  SECOND CAUSE OF ACTION
 2
                                      NEGLIGENCE PER SE
 3
                                  (Plaintiffs on behalf of the Class)
 4
             123.   Plaintiffs restate and reallege the preceding allegations above as if fully
 5
      alleged herein.
 6
             124.   Plaintiffs bring this claim individually and on behalf of the Class.
 7
             125.   Section 5 of the FTC Act prohibits “unfair … practices in or affecting
 8

 9
      commerce” including, as interpreted and enforced by the FTC, the unfair act or practice by

10
      entities such as Defendant for failing to use reasonable measures to protect PII. Various

11    FTC publications and orders also form the basis of Defendant’s duty.

12           126.   Defendant violated Section 5 of the FTC Act by failing to use reasonable

13    measures to protect PII and not complying with the industry standards. Defendant’s
14    conduct was particularly unreasonable given the nature and amount of PII it obtained and
15    stored and the foreseeable consequences of a data breach involving PII of its consumers.
16           127.   Plaintiffs and Class members are consumers within the Class of persons
17    Section 5 of the FTC Act was intended to protect.
18           128.   Defendant’s violation of Section 5 of the FTC Act constitutes negligence per
19    se.
20           129.   The harm that has occurred as a result of Defendant’s conduct is the type of
21
      harm that the FTC Act and Part 2 was intended to guard against.
22
             130.   As a direct and proximate result of Defendant’s negligence, Plaintiffs have
23
      been injured as described herein, and is entitled to damages, including compensatory,
24
      punitive, and nominal damages, in an amount to be proven at trial.
25

26

27

28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 31
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 1
                                   THIRD CAUSE OF ACTION
 2
                                 BREACH OF FIDUCIARY DUTY
 3
                                  (Plaintiffs on behalf of the Class)
 4
             131.   Plaintiffs restate and reallege the preceding allegations above as if fully
 5
      alleged herein.
 6
             132.   Plaintiffs and Class members have an interest, both equitable and legal, in
 7
      the PII about them that was conveyed to, collected by, and maintained by Defendant and
 8

 9
      that was ultimately accessed or compromised in the Data Breach.

10
             133.   As a provider of financial services and a recipient of consumers’ PII,

11    Defendant has a fiduciary relationship to its consumers, including Plaintiffs and Class

12    members.

13           134.   Because of that fiduciary relationship, Defendant was provided with and
14    stored private and valuable PII related to Plaintiffs and the Class. Plaintiffs and the Class
15    were entitled to expect their information would remain confidential while in Defendant’s
16    possession.
17           135.   Defendant owed a fiduciary duty under common law to Plaintiffs and Class
18    members to exercise the utmost care in obtaining, retaining, securing, safeguarding,
19    deleting, and protecting their PII in Defendant’s possession from being compromised, lost,
20    stolen, accessed, and misused by unauthorized persons.
21
             136.   As a result of the parties’ fiduciary relationship, Defendant had an obligation
22
      to maintain the confidentiality of the information within Plaintiffs’ and Class members’
23
      PII.
24
             137.   Defendant’s consumers, including Plaintiffs and Class members, have a
25
      privacy interest in personal financial matters, and Defendant had a fiduciary duty not to
26
      such personal data of its consumers.
27

28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 32
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 1
             138.    As a result of the parties’ relationship, Defendant had possession and
 2
      knowledge of confidential PII of Plaintiffs and Class members, information not generally
 3
      known.
 4
             139.    Plaintiffs and Class members did not consent to nor authorize Defendant to
 5
      release or disclose their PII to unknown criminal actors.
 6
             140.    Defendant breached its fiduciary duties owed to Plaintiffs and Class
 7
      members by, among other things:
 8

 9
                a.      mismanaging its system and failing to identify reasonably foreseeable

10
                        internal and external risks to the security, confidentiality, and integrity of

11                      customer information that resulted in the unauthorized access and

12                      compromise of PII;

13              b.      mishandling its data security by failing to assess the sufficiency of its
14                      safeguards in place to control these risks;
15              c.      failing to design and implement information safeguards to control these
16                      risks;
17              d.      failing to adequately test and monitor the effectiveness of the safeguards’
18                      key controls, systems, and procedures;
19              e.      failing to evaluate and adjust its information security program in light of
20                      the circumstances alleged herein;
21
                f.      failing to detect the breach at the time it began or within a reasonable time
22
                        thereafter;
23
                g.      failing to follow its own privacy policies and practices published to its
24
                        consumers; and
25
                h.      failing to adequately train and supervise employees and third-party
26
                        vendors with access or credentials to systems and databases containing
27
                        sensitive PII.
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 33
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 1
            141.     But for Defendant’s wrongful breach of its fiduciary duties owed to Plaintiffs
 2
      and Class members, their PII would not have been compromised.
 3
            142.     As a direct and proximate result of Defendant’s negligence, Plaintiffs and
 4
      Class members have suffered injuries, including:
 5
                a.      Theft of their PII;
 6
                b.      Costs associated with the detection and prevention of identity theft and
 7
                        unauthorized use of their PII;
 8

 9
                c.      Costs associated with purchasing credit monitoring and identity theft

10
                        protection services;

11              d.      Lowered credit scores resulting from credit inquiries following fraudulent

12                      activities;

13              e.      Costs associated with time spent and the loss of productivity from taking
14                      time to address and attempt to ameliorate, mitigate, and deal with the
15                      actual and future consequences of the Data Breach – including finding
16                      fraudulent charges, cancelling and reissuing cards, enrolling in credit
17                      monitoring and identity theft protection services, freezing and unfreezing
18                      accounts, and imposing withdrawal and purchase limits on compromised
19                      accounts;
20              f.      The imminent and certainly impending injury flowing from the increased
21
                        risk of potential fraud and identity theft posed by their PII being placed
22
                        in the hands of criminals;
23
                g.      Damages to and diminution in value of their PII entrusted, directly or
24
                        indirectly, to Defendant with the mutual understanding that Defendant
25
                        would safeguard Plaintiff’s data against theft and not allow access and
26
                        misuse of their data by others;
27

28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 34
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 1
                  h.      Continued risk of exposure to hackers and thieves of their PII, which
 2
                          remains in Defendant’s possession and is subject to further breaches so
 3
                          long as Defendant fails to undertake appropriate and adequate measures
 4
                          to protect Plaintiff’s data; and
 5
                  i.      Emotional distress from the unauthorized disclosure of PII to strangers
 6
                          who likely have nefarious intentions and now have prime opportunities
 7
                          to commit identity theft, fraud, and other types of attacks on Plaintiff.
 8

 9
             143.      As a direct and proximate result of Defendant’s breach of its fiduciary duties,

10
      Plaintiffs and Class members are entitled to damages, including compensatory, punitive,

11    and/or nominal damages, in an amount to be proven at trial.

12                                   FOURTH CAUSE OF ACTION

13                                    BREACH OF CONFIDENCE
14                                   (Plaintiffs on behalf of the Class)
15           144.      Plaintiffs restate and reallege the preceding allegations above as if fully
16    alleged herein.
17           145.      Plaintiffs and Class members have an interest, both equitable and legal, in
18    the PII about them that was conveyed to, collected by, and maintained by Defendant and
19    that was ultimately accessed or compromised in the Data Breach.
20           146.      As a provider of financial services and a recipient of consumers’ PII,
21
      Defendant has a fiduciary relationship to its consumers, including Plaintiffs and Class
22
      members.
23
             147.      Plaintiffs provided Defendant with their personal and confidential PII under
24
      both the express and/or implied agreement of Defendant to limit the use and disclosure of
25
      such PII.
26
             148.      Defendant owed a duty to Plaintiffs to exercise the utmost care in obtaining,
27
      retaining, securing, safeguarding, deleting, and protecting the PII in its possession from
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 35
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 1
      being compromised, lost, stolen, accessed by, misused by, or disclosed to unauthorized
 2
      persons.
 3
                149.   As a result of the parties’ relationship, Defendant had possession and
 4
      knowledge of confidential PII of Plaintiffs.
 5
                150.   Plaintiffs’ PII is not generally known to the public and is confidential by
 6
      nature.
 7
                151.   Plaintiffs did not consent to nor authorize Defendant to release or disclose
 8

 9
      their PII to an unknown criminal actor.

10
                152.   Defendant breached the duties of confidence it owed to Plaintiffs when

11    Plaintiffs’ PII was disclosed to unknown criminal hackers.

12              153.   Defendant breached its duties of confidence by failing to safeguard Plaintiffs’

13    and Class members’ PII, including by, among other things: (a) mismanaging its system and
14    failing to identify reasonably foreseeable internal and external risks to the security,
15    confidentiality, and integrity of customer information that resulted in the unauthorized
16    access and compromise of PII; (b) mishandling its data security by failing to assess the
17    sufficiency of its safeguards in place to control these risks; (c) failing to design and
18    implement information safeguards to control these risks; (d) failing to adequately test and
19    monitor the effectiveness of the safeguards’ key controls, systems, and procedures; (e)
20    failing to evaluate and adjust its information security program in light of the circumstances
21
      alleged herein; (f) failing to detect the breach at the time it began or within a reasonable
22
      time thereafter; (g) failing to follow its on privacy policies and practices published to its
23
      consumers; (h) storing PII in an unencrypted and vulnerable manner, allowing its
24
      disclosure to hackers; and (i) making an unauthorized and unjustified disclosure and release
25
      of Plaintiff’s PII to a criminal third party.
26
                154.   But for Defendant’s wrongful breach of its duty of confidences owed to
27
      Plaintiffs, their privacy, confidences, and PII would not have been compromised.
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 36
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 1
             155.    As a direct and proximate result of Defendant’s breach of Plaintiffs’
 2
      confidences, Plaintiffs have suffered injuries, including:
 3
                a.      Theft of their PII;
 4
                b.      Costs associated with the detection and prevention of identity theft and
 5
                        unauthorized use of their PII;
 6
                c.      Costs associated with purchasing credit monitoring and identity theft
 7
                        protection services;
 8

 9
                d.      Lowered credit scores resulting from credit inquiries following fraudulent

10
                        activities;

11              e.      Costs associated with time spent and the loss of productivity from taking

12                      time to address and attempt to ameliorate, mitigate, and deal with the

13                      actual and future consequences of the NextGen Data Breach – including
14                      finding fraudulent charges, cancelling and reissuing cards, enrolling in
15                      credit monitoring and identity theft protection services, freezing and
16                      unfreezing accounts, and imposing withdrawal and purchase limits on
17                      compromised accounts;
18              f.      The imminent and certainly impending injury flowing from the increased
19                      risk of potential fraud and identity theft posed by their PII being placed
20                      in the hands of criminals;
21
                g.      Damages to and diminution in value of their PII entrusted, directly or
22
                        indirectly, to Defendant with the mutual understanding that Defendant
23
                        would safeguard Plaintiffs’ data against theft and not allow access and
24
                        misuse of their data by others;
25
                h.      Continued risk of exposure to hackers and thieves of their PII, which
26
                        remains in Defendant’s possession and is subject to further breaches so
27

28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 37
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 1
                          long as Defendant fails to undertake appropriate and adequate measures
 2
                          to protect Plaintiffs’ data; and
 3
                 i.       Loss of personal time spent carefully reviewing statements from health
 4
                          insurers and providers to check for charges for services not received, as
 5
                          directed to do by Defendant.
 6
             156.      Additionally, Defendant received payments from Plaintiffs for services with
 7
      the understanding that Defendant would uphold its responsibilities to maintain the
 8

 9
      confidences of Plaintiffs’ PII.

10
             157.      Defendant breached the confidence of Plaintiffs when it made an

11    unauthorized release and disclosure of their PII and, accordingly, it would be inequitable

12    for Defendant to retain the benefit at Plaintiffs’ expense.

13           158.      As a direct and proximate result of Defendant’s breach of its duty of
14    confidences, Plaintiffs and the Class are entitled to damages, including compensatory,
15    punitive, and/or nominal damages, and/or disgorgement or restitution, in an amount to be
16    proven at trial.
17                                    FIFTH CAUSE OF ACTION
18                    INTRUSION UPON SECLUSION/INVASION OF PRIVACY
19                                  (Plaintiffs on behalf of the Class)
20           159.      Plaintiffs restate and reallege the preceding allegations above as if fully
21
      alleged herein.
22
             160.      Plaintiffs had a reasonable expectation of privacy in the PII Defendant
23
      mishandled.
24
             161.      Defendant’s conduct as alleged above intruded upon Plaintiffs and Class
25
      members’ seclusion under common law.
26

27

28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 38
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 1
             162.    By intentionally failing to keep Plaintiffs’ PII safe, and by intentionally
 2
      misusing and/or disclosing said information to unauthorized parties for unauthorized use,
 3
      Defendant intentionally invaded Plaintiffs and Class members’ privacy by:
 4
                a.      Intentionally and substantially intruding into Plaintiffs and Class
 5
                        members’ private affairs in a manner that identifies Plaintiffs and Class
 6
                        members and that would be highly offensive and objectionable to an
 7
                        ordinary person;
 8

 9
                b.      Intentionally publicizing private facts about Plaintiffs and Class members,

10
                        which is highly offensive and objectionable to an ordinary person; and

11              c.      Intentionally causing anguish or suffering to Plaintiffs and Class

12                      members.

13           163.    Defendant knew that an ordinary person in Plaintiffs or Class members’
14    position would consider Defendant’s intentional actions highly offensive and objectionable.
15           164.    Defendant invaded Plaintiffs and Class members’ right to privacy and
16    intruded into Plaintiffs’ and Class members’ private affairs by intentionally misusing
17    and/or disclosing their PII without their informed, voluntary, affirmative, and clear consent.
18           165.    Defendant intentionally concealed from and delayed reporting to Plaintiffs
19    and Class members a security incident that misused and/or disclosed their PII without their
20    informed, voluntary, affirmative, and clear consent.
21
             166.    The conduct described above was directed at Plaintiffs and Class members.
22
             167.    As a proximate result of such intentional misuse and disclosures, Plaintiffs’
23
      and Class members’ reasonable expectations of privacy in their PII was unduly frustrated
24
      and thwarted. Defendant’s conduct amounted to a substantial and serious invasion of
25
      Plaintiffs’ and Class members’ protected privacy interests causing anguish and suffering
26
      such that an ordinary person would consider Defendant’s intentional actions or inaction
27
      highly offensive and objectionable.
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 39
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 1
             168.   In failing to protect Plaintiffs’ and Class members’ PII, and in intentionally
 2
      misusing and/or disclosing their PII, Defendant acted with intentional malice and
 3
      oppression and in conscious disregard of Plaintiffs and Class members’ rights to have such
 4
      information kept confidential and private. Plaintiffs, therefore, seek an award of damages
 5
      on behalf themselve and the Class.
 6
             169.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class
 7
      members are entitled to damages, including compensatory, punitive, and/or nominal
 8

 9
      damages, in an amount to be proven at trial.

10
                                   SIXTH CAUSE OF ACTION

11                            BREACH OF IMPLIED CONTRACT

12                                (Plaintiffs on behalf of the Class)

13           170.   Plaintiffs restate and reallege the preceding allegations above as if fully
14    alleged herein.
15           171.   Plaintiffs bring this claim individually and on behalf of the Class.
16           172.   When Plaintiffs and Class members provided their PII to Defendant in
17    exchange for financial services, they entered into implied contracts with Defendant, under
18    which Defendant agreed to take reasonable steps to protect Plaintiffs’ and Class members’
19    PII, comply with statutory and common law duties to protect their PII, and to timely notify
20    them in the event of a data breach.
21
             173.   Defendant solicited and invited Plaintiffs and Class members to provide their
22
      PII as part of Defendant’s provision of services. Plaintiffs and Class members accepted
23
      Defendant’s offers and provided their PII to Defendant.
24
             174.   When entering into implied contracts, Plaintiffs and Class members
25
      reasonably believed and expected that Defendant’s data security practices complied with
26
      its statutory and common law duties to adequately protect Plaintiffs’ PII and to timely
27
      notify them in the event of a data breach.
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 40
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 1
             175.   Defendant’s implied promise to safeguard consumers’ PII is evidenced by,
 2
      e.g., the representations in Defendant’s Notice of Privacy Practices set forth above.
 3
             176.   Plaintiffs and Class members paid money to Defendant in order to receive
 4
      services. Plaintiffs and Class members reasonably believed and expected that Defendant
 5
      would use part of those funds to obtain adequate data security. Defendant failed to do so.
 6
             177.   Plaintiffs and Class members would not have provided their PII to Defendant
 7
      had they known that Defendant would not safeguard their PII, as promised, or provide
 8

 9
      timely notice of a data breach.

10
             178.   Plaintiffs and Class members fully performed their obligations under their

11    implied contracts with Defendant.

12           179.   Defendant breached its implied contracts with Plaintiffs and Class members

13    by failing to safeguard Plaintiffs and Class members’ PII and by failing to provide them
14    with timely and accurate notice of the Data Breach.
15           180.   The losses and damages Plaintiffs and Class members sustained include, but
16    are not limited to:
17                  a.      Theft of their PII;
18                  b.      Costs associated with purchasing credit monitoring and identity theft
19                          protection services;
20                  c.      Costs associated with the detection and prevention of identity theft
21
                            and unauthorized use of their PII;
22
                    d.      Lowered credit scores resulting from credit inquiries following
23
                            fraudulent activities;
24
                    e.      Costs associated with time spent and the loss of productivity from
25
                            taking time to address and attempt to ameliorate, mitigate, and deal
26
                            with the actual and future consequences of the Data Breach –
27
                            including finding fraudulent charges, cancelling and reissuing cards,
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 41
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 1
                           enrolling in credit monitoring and identity theft protection services,
 2
                           freezing and unfreezing accounts, and imposing withdrawal and
 3
                           purchase limits on compromised accounts;
 4
                    f.     The imminent and certainly impending injury flowing from the
 5
                           increased risk of potential fraud and identity theft posed by their PII
 6
                           being placed in the hands of criminals;
 7
                    g.     Damages to and diminution in value of their PII entrusted, directly or
 8

 9
                           indirectly, to Defendant with the mutual understanding that Defendant

10
                           would safeguard Plaintiffs’ and Class members’ data against theft and

11                         not allow access and misuse of their data by others;

12                  h.     Continued risk of exposure to hackers and thieves of their PII, which

13                         remains in Defendant’s possession and is subject to further breaches
14                         so long as Defendant fails to undertake appropriate and adequate
15                         measures to protect Plaintiffs and Class members’ data; and
16                  i.     Emotional distress from the unauthorized disclosure of PII to
17                         strangers who likely have nefarious intentions and now have prime
18                         opportunities to commit identity theft, fraud, and other types of
19                         attacks on Plaintiffs and Class members.
20           181.   As a direct and proximate result of Defendant’s breach of contract, Plaintiffs
21
      and Class members are entitled to damages, including compensatory, punitive, and/or
22
      nominal damages, in an amount to be proven at trial.
23
                                 SEVENTH CAUSE OF ACTION
24
                                     UNJUST ENRICHMENT
25
                                  (Plaintiffs on behalf of the Class)
26
             182.   Plaintiffs restate and reallege the preceding allegations above as if fully
27
      alleged herein.
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 42
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 1
             183.   Plaintiffs bring this claim individually and on behalf of the Class in the
 2
      alternative to Plaintiffs’ implied contract claim.
 3
             184.   Upon information and belief, Defendant funds its data security measures
 4
      entirely from its general revenue, including payments made by or on behalf of Plaintiffs
 5
      and Class members.
 6
             185.   As such, a portion of the payments made by or on behalf of Plaintiffs and
 7
      Class members is to be used to provide a reasonable level of data security, and the amount
 8

 9
      of the portion of each payment made that is allocated to data security is known to Defendant.

10
             186.   Plaintiffs and Class members conferred a monetary benefit on Defendant.

11    Specifically, they purchased services from Defendant and/or its agents and in so doing

12    provided Defendant with their PII. In exchange, Plaintiffs and Class members should have

13    received from Defendant the services that were the subject of the transaction and have their
14    PII protected with adequate data security.
15           187.   Defendant knew that Plaintiffs and Class members conferred a benefit which
16    Defendant accepted. Defendant profited from these transactions and used the PII of
17    Plaintiffs and Class members for business purposes.
18           188.   In particular, Defendant enriched itself by saving the costs it reasonably
19    should have expended on data security measures to secure Plaintiffs and Class members’
20    PII. Instead of providing a reasonable level of security that would have prevented the Data
21
      Breach, Defendant instead calculated to increase its own profits at the expense of Plaintiffs
22
      and Class members by utilizing cheaper, ineffective security measures. Plaintiffs and Class
23
      members, on the other hand, suffered as a direct and proximate result of Defendant’s
24
      decision to prioritize its own profits over the requisite security.
25
             189.   Under the principles of equity and good conscience, Defendant should not be
26
      permitted to retain the money belonging to Plaintiffs and Class members, because
27

28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 43
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 1
      Defendant failed to implement appropriate data management and security measures that
 2
      are mandated by its common law and statutory duties.
 3
             190.   Defendant failed to secure Plaintiffs’ and Class members’ PII and, therefore,
 4
      did not provide full compensation for the benefit Plaintiffs and Class members provided.
 5
             191.   Defendant acquired the PII through inequitable means in that it failed to
 6
      disclose the inadequate security practices previously alleged.
 7
             192.   If Plaintiffs and Class members knew that Defendant had not reasonably
 8

 9
      secured their PII, they would not have agreed to provide their PII to Defendant.

10
             193.   Plaintiffs and Class members have no adequate remedy at law.

11           194.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

12    members have suffered injuries, including, but not limited to:

13                  a.     Theft of their PII;
14                  b.     Costs associated with purchasing credit monitoring and identity theft
15                         protection services;
16                  c.     Costs associated with the detection and prevention of identity theft
17                         and unauthorized use of their PII;
18                  d.     Lowered credit scores resulting from credit inquiries following
19                         fraudulent activities;
20                  e.     Costs associated with time spent and the loss of productivity from
21
                           taking time to address and attempt to ameliorate, mitigate, and deal
22
                           with the actual and future consequences of the Data Breach –
23
                           including finding fraudulent charges, cancelling and reissuing cards,
24
                           enrolling in credit monitoring and identity theft protection services,
25
                           freezing and unfreezing accounts, and imposing withdrawal and
26
                           purchase limits on compromised accounts;
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 1
                     f.     The imminent and certainly impending injury flowing from the
 2
                            increased risk of potential fraud and identity theft posed by their PII
 3
                            being placed in the hands of criminals;
 4
                     g.     Damages to and diminution in value of their PII entrusted, directly or
 5
                            indirectly, to Defendant with the mutual understanding that Defendant
 6
                            would safeguard Plaintiffs’ and Class members’ data against theft and
 7
                            not allow access and misuse of their data by others;
 8

 9
                     h.     Continued risk of exposure to hackers and thieves of their PII, which

10
                            remains in Defendant’s possession and is subject to further breaches

11                          so long as Defendant fails to undertake appropriate and adequate

12                          measures to protect Plaintiffs’ and Class members’ data; and

13                   i.     Emotional distress from the unauthorized disclosure of PII to
14                          strangers who likely have nefarious intentions and now have prime
15                          opportunities to commit identity theft, fraud, and other types of
16                          attacks on Plaintiffs and Class members.
17           195.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class
18    members have suffered and will continue to suffer other forms of injury and/or harm.
19           196.    Defendant should be compelled to disgorge into a common fund or
20    constructive trust, for the benefit of Plaintiffs and Class members, proceeds that it unjustly
21
      received from them. In the alternative, Defendant should be compelled to refund the
22
      amounts that Plaintiffs and Class members overpaid for Defendant’s services.
23
                                    EIGHTH CAUSE OF ACTION
24
                                    DECLARATORY JUDGMENT
25
                                    (Plaintiffs on behalf of the Class)
26
             197.    Plaintiffs restate and reallege the preceding allegations the paragraphs above
27
      as if fully alleged herein.
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 45
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 1
             198.   Plaintiffs bring this claim individually and on behalf of the Class.
 2
             199.   Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court
 3
      is authorized to enter a judgment declaring the rights and legal relations of the parties and
 4
      granting further necessary relief. Furthermore, the Court has broad authority to restrain acts,
 5
      such as here, that are tortious and violate the terms of the federal statutes described in this
 6
      Complaint.
 7
             200.   An actual controversy has arisen in the wake of the Data Breach regarding
 8

 9
      Defendant’s present and prospective common law and other duties to reasonably safeguard

10
      Plaintiffs’ and Class members’ PII, and whether Defendant is currently maintaining data

11    security measures adequate to protect Plaintiffs and Class members from future data

12    breaches that compromise their PII. Plaintiffs and the Class remain at imminent risk of

13    further compromises of their PII will occur in the future.
14           201.   The Court should also issue prospective injunctive relief requiring Defendant
15    to employ adequate security practices consistent with law and industry standards to protect
16    consumers’ PII.
17           202.   Defendant still possesses the PII of Plaintiffs and the Class.
18           203.   To Plaintiffs’ knowledge, Defendant has made no announcement or
19    notification that it has remedied the vulnerabilities and negligent data security practices
20    that led to the Data Breach.
21
             204.   If an injunction is not issued, Plaintiffs and the Class will suffer irreparable
22
      injury and lack an adequate legal remedy in the event of another data breach at Defendant.
23
      The risk of another such breach is real, immediate, and substantial.
24
             205.   The hardship to Plaintiffs and Class members if an injunction does not issue
25
      exceeds the hardship to Defendant if an injunction is issued. Among other things, if another
26
      data breach occurs at Defendant, Plaintiffs and Class members will likely continue to be
27
      subjected to a heightened, substantial, imminent risk of fraud, identify theft, and other
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 46
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 1
      harms described herein. On the other hand, the cost to Defendant of complying with an
 2
      injunction by employing reasonable prospective data security measures is relatively
 3
      minimal, and Defendant has a pre-existing legal obligation to employ such measures.
 4
             206.    Issuance of the requested injunction will not disserve the public interest. To
 5
      the contrary, such an injunction would benefit the public by preventing another data breach
 6
      at Defendant, thus eliminating the additional injuries that would result to Plaintiffs and
 7
      Class members, along with other consumers whose PII would be further compromised.
 8

 9
             207.    Pursuant to its authority under the Declaratory Judgment Act, this Court

10
      should enter a judgment declaring that Defendant implement and maintain reasonable

11    security measures, including but not limited to the following:

12              a.      Engaging third-party security auditors/penetration testers, as well as

13                      internal security personnel, to conduct testing that includes simulated
14                      attacks, penetration tests, and audits on Defendant’s systems on a periodic
15                      basis, and ordering Defendant to promptly correct any problems or issues
16                      detected by such third-party security auditors;
17              b.      Engaging third-party security auditors and internal personnel to run
18                      automated security monitoring;
19              c.      Auditing, testing, and training its security personnel regarding any new
20                      or modified procedures;
21
                d.      Purging, deleting, and destroying PII not necessary for its provisions of
22
                        services in a reasonably secure manner;
23
                e.      Conducting regular database scans and security checks; and
24
                f.      Routinely and continually conducting internal training and education to
25
                        inform internal security personnel how to identify and contain a breach
26
                        when it occurs and what to do in response to a breach.
27

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      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 47
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 1
                                   NINTH CAUSE OF ACTION
 2
               VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT
 3
                                      (N.J.S.A. §§ 56:8-1 et seq.)
 4
                 (Plaintiff John Sedlacek on behalf of the New Jersey Sub-Class)
 5
             208.   Plaintiff Sedlacek repeats and re-alleges the allegations contained in the
 6
      previous paragraphs above as if fully set forth herein.
 7
             209.   The New Jersey Consumer Fraud Act prohibits, inter alia:
 8

 9
             The act, use or employment by any person of any unconscionable

10
             commercial practice, deception, fraud, false pretense, false promise,

11           misrepresentation, or the knowing concealment, suppression, or omission of

12           any material fact with intent that others rely upon such concealment,

13           suppression, or omission, in connection with the sale or advertisement of any
14           merchandise….
15    N.J.S.A. § 56:8-2.
16           210.   The New Jersey Consumer Fraud Act “was intended to be one of the
17    strongest consumer protection laws in the nation ... [and] should be construed liberally in
18    favor of protecting consumers.” Homa v. Am. Express Co., 558 F.3d 225, 232 (3d Cir.
19    2009) (quoting Huffman v. Robinson, 221 N.J. Super. 315 (L. Div. 1986).
20           211.   Plaintiff Sedlacek and other members of the New Jersey Sub-Class are
21
      “persons” within the meaning of N.J.S.A. § 56:8-1(d).
22
             212.   Defendant’s conduct alleged herein constitutes a “sale” within the meaning
23
      of N.J.S.A. § 56:8-1(e).
24
             213.   Defendant has engaged in unconscionable commercial practices by failing to
25
      properly safeguard their customers PII.
26
             214.   Defendant LDI has engaged in unfair, unlawful, and deceptive acts in trade
27
      and commerce which have the capacity and tendency to deceive and, in fact, did deceive
28
      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 48
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 1
      Plaintiff Sedlacek and the New Jersey Sub-Class, and damaged Plaintiff Sedlacek and
 2
      Class members.
 3
             215.   Defendant’s misrepresentations and false, deceptive, and misleading
 4
      statements and omissions with respect to its privacy policy as described above, constitute
 5
      affirmative misrepresentations in violation of the Consumer Fraud Act.
 6
             216.   Defendant’s false, deceptive, and misleading statements and omissions
 7
      would have been material to any potential consumer’s decision to do business with
 8

 9
      Defendant.

10
             217.   By misrepresenting that its customers’ PII was safe and secure, Defendant

11    made material representations of fact that it knew, or should have known, were false and

12    misleading and that had the tendency and capacity to be misleading.

13           218.   Defendant made these false, deceptive, and misleading statements and
14    omissions with the intent that consumers rely upon such statements.
15           219.   Defendant’s conduct as alleged above constitutes a deceptive act or practice.
16    Defendant’s representations were material to a reasonable consumer and likely to affect
17    consumer decisions and conduct.
18           220.   Defendant’s affirmative conduct and omissions constitute unlawful practices
19    beyond a mere breach of contract. Rather, Defendant’s practices are unconscionable and
20    outside the norm of reasonable business practices. No reasonable consumer would enter
21
      into a contract with Defendant knowing that their PII was not safe and secure. Yet, by
22
      deceiving consumers, Defendant managed to convince them to enter into exactly this kind
23
      of contract. This is plainly an unconscionable result.
24
             221.   Substantial aggravating circumstances are present here because LDI’s
25
      business behavior in question stands outside the norm of reasonable business practice in
26
      that it has victimized Plaintiff and the Putative class members, who are average consumers.
27

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      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 49
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 1
             222.     Plaintiff Sedlacek and the other members of the New Jersey Sub-Class
 2
      entered into agreements with Defendant and suffered ascertainable losses as a direct and
 3
      proximate result of Defendant’s actions in violation of the Consumer Fraud Act.
 4
             223.     Plaintiff Sedlacek and other members of the New Jersey Sub-Class suffered
 5
      an ascertainable loss caused by Defendant’s misrepresentations and omissions because
 6
      they would not have entered into an agreement with Defendant if the true facts concerning
 7
      Defendant’s failure to protect the subclasses’ PII were known.
 8

 9
             224.     Therefore, Defendant is liable to Plaintiff Sedlacek and the other members

10
      of the New Jersey Sub-Class for trebled compensatory damages, punitive damages,

11    attorneys’ fees, and the costs of this suit. N.J.S.A. §§ 56:8-2.11, 8-2.12, 8-19.

12                                      PRAYER FOR RELIEF

13           WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated,
14    pray for relief as follows:
15               a.      For an Order certifying this action as a Class action and appointing
16                       Plaintiffs as Class Representatives and their counsel as Class Counsel;
17               b.      For equitable relief enjoining Defendant from engaging in the wrongful
18                       conduct complained of herein pertaining to the misuse and/or disclosure
19                       of Plaintiffs and Class members’ PII, and from refusing to issue prompt,
20                       complete and accurate disclosures to Plaintiffs and Class members;
21
                 c.      For equitable relief compelling Defendant to utilize appropriate methods
22
                         and policies with respect to consumer data collection, storage, and safety,
23
                         and to disclose with specificity the type of Personal Information
24
                         compromised during the Data Breach;
25
                 d.      For equitable relief requiring restitution and disgorgement of the revenues
26
                         wrongfully retained as a result of Defendant’s wrongful conduct;
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      CLASS ACTION COMPLAINTDEMAND FOR JURY TRIAL - 50
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 1
               e.     Ordering Defendant to pay for not less than three years of credit
 2
                      monitoring services for Plaintiffs and the Class;
 3
               f.     For an award of actual damages, compensatory damages, statutory
 4
                      damages, and statutory penalties, in an amount to be determined, as
 5
                      allowable by law;
 6
               g.     For an award of punitive damages, as allowable by law;
 7
               h.     For an award of attorneys’ fees and costs, and any other expense,
 8

 9
                      including expert witness fees;

10
               i.     Pre- and post-judgment interest on any amounts awarded; and,

11             j.     Such other and further relief as this court may deem just and proper.

12                                 JURY TRIAL DEMANDED

13          A jury trial is demanded by Plaintiffs on all claims so triable.
14          Dated this 1st day of March 2024.
15                                                     /s/Eric Lechtzin
                                                    Eric Lechtzin (I.D. # 248958)
16                                                  EDELSON LECHTZIN LLP
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